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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION


   JOHN DOE, on behalf of
   himself and all others similarly situated,
          Plaintiff,
   v.                                                              Case No. 9:19-cv-80513-DMM
                                                                   CLASS ACTION
   TOWN OF JUPITER POLICE DEPARTMENT;
                                                                   JURY TRIAL DEMANDED
   DET. ANDREW SHARP #412/1101; DAVID
   ARONBERG, PALM BEACH COUNTY STATE
   ATTORNEY,

          Defendants.

                            AMENDED CLASS ACTION COMPLAINT

          Plaintiff John Doe, on behalf of himself and all others similarly situated, files this Amended

   Class Action Complaint against the Town of Jupiter Police Department (the “Jupiter Police”),

   Detective Andrew Sharp #412/1101 of the Jupiter Police (“Sharp”), and David Aronberg, State

   Attorney for the 15th Judicial District Florida (“Aronberg”) (collectively, “Defendants”) and alleges

   as follows:

                                           INTRODUCTION

          1.      The United States Constitution protects individuals’ rights to privacy and freedom

   from unreasonable searches. Accordingly, the government is allowed to intrude into private property

   and video record conduct only when it can show probable cause that: (a) specific grave crimes are

   being committed; (b) additional evidence of those crimes is needed; (c) no other means of obtaining

   that evidence is available; and (d) any intrusion will be narrowly tailored to avoid excessive invasion

   of privacy.
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          2.      On information and belief, Defendants violated Mr. Doe’s constitutional rights on or

   around January 19, 2019 by spying on him while he was in a state of undress in a private massage

   room at a private spa facility, despite having failed to meet the constitutional requirements to

   secretly record him in that private setting.

          3.      This action is brought as a class action of persons who patronized the Orchids of Asia

   Day Spa (the “Spa”) from January 18, 2019 to January 22, 2019, were videotaped without their

   knowledge or consent while receiving a lawful massage, and have not been charged with any crime

   for their patronage of the Spa during the referenced time period.

          4.      Mr. Doe brings this action to hold Defendants accountable for their knowing

   violations of his and the class members’ constitutional rights.

                                     NATURE OF THE ACTION

          5.      This is an action at law and in equity pursuant to 42 U.S.C. § 1983 for deprivation

   under color of state law of rights, privilege, and immunities secured by the Constitution.

                                             THE PARTIES

          6.      Plaintiff John Doe is an individual residing in Jupiter, Florida.

          7.      The Town of Jupiter Police Department is a law enforcement agency located within

   the town of Jupiter in Palm Beach County, Florida.

          8.      Andrew Sharp is employed as a detective by the Jupiter Police, is over the age of 18,

   on information and belief is a resident of Palm Beach County, Florida, and is being sued in his

   individual capacity for knowingly violating Mr. Doe’s and the class members’ constitutional rights.

   Sharp is the affiant on several publicly-available affidavits sworn in connection with the

   investigation described below, from which this action arises. Upon information and belief, Sharp

   was the lead detective in that investigation.




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             9.    David Aronberg is the State Attorney for Palm Beach County, Florida, is over the age

   of 18, on information and belief is a resident of Palm Beach County, Florida, and is being sued in his

   individual capacity for knowingly violating Mr. Doe’s and the class members’ constitutional rights.

   The Florida State Attorney’s Office, 15th Judicial District, is a Florida government agency tasked

   with the prosecution of criminal offenses in Palm Beach County, Florida, which includes Jupiter,

   Florida.

                                  CLASS ACTION ALLEGATIONS

             10.   John Doe1 is an adequate class representative because he, like all members of the

   proposed class, suffered the same injury (invasion of privacy under §1983) caused by the same

   unlawful conduct (unconstitutional/unlawful video recording), which was committed by the same

   defendants, at the same location (the Spa), on approximately the same dates (from January 18, 2019

   to January 22, 2019). Moreover, like all members of the proposed class, John Doe was recorded

   without his permission and while receiving lawful massage therapy. Neither John Doe nor the other

   members of the class have been charged with any crimes relating to or arising from the conduct that

   was being investigated by Defendants.

             11.   The class is defined as patrons of the Spa from January 18, 2019 to January 22, 2019,

   who were video-taped without their knowledge or consent while receiving a lawful massage and

   have not been charged with any crime for their patronage of the Spa during the referenced time

   period.

             12.   Damages would be readily ascertainable as to the effect of the unlawful activity on

   the members of the class.



   1
     “John Doe” or “Mr. Doe” will refer to the individual. “John Does” and “Jane Does” will refer
   to the members of the putative class.


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          13.     Questions of law common to the class, include, without limitation, whether:

                      a. Defendants deprived the collective rights, privileges, or immunities secured

                          by the Constitution and laws while acting under color of law;

                      b. Defendants obtained the “sneak and peak” warrant for the video surveillance

                          recklessly or under false pretenses;

                      c. the warrant was constitutional;

                      d. Defendants minimized the intrusion upon the class members’ constitutionally

                          protected right to privacy;

                      e. the class members had a reasonable expectation of privacy in the locations

                          recorded; and

                      f. it was lawful, necessary, or permitted by the warrant to indiscriminately

                          video record patrons of the Spa, including while disrobed and receiving

                          lawful massage therapy.

          14.     Upon information and belief, the size of the class is at least 17 members, including

   John Doe. Discovery is needed to ascertain the full size of the class.

          15.     John Doe seeks class certification pursuant to Federal Rule of Civil Procedure

   23(b)(1) because prosecuting separate actions would create a risk of inconsistent or varying

   adjudications with respect to individual class members that would establish incompatible standards

   of conduct for Defendants. Moreover, prosecuting separate actions would create a risk of

   adjudications with respect to individual class members that, as a practical matter, would be

   dispositive of the interests of the other members not parties to the individual adjudications or would

   substantially impair or impede their ability to protect their interests.




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          16.     John Doe seeks class certification pursuant to Federal Rule of Civil Procedure

   23(b)(2) because Defendants have acted or refused to act on grounds that apply generally to the

   class, so that final injunctive relief or corresponding declaratory relief is appropriate respecting the

   class as a whole.

          17.     John Doe seeks class certification pursuant to Federal Rule of Civil Procedure

   23(b)(3) because the questions of law and fact common to class members predominate over any

   questions affecting only individual members, and a class action is superior to other available

   methods for fairly and efficiently adjudicating this controversy. If Defendants are found liable as to

   one class member, including John Doe, they will be liable as to all class members. Moreover, a class

   action is required because, adjudicating this matter in separate actions could lead to conflicting

   determinations of fact and law.

          18.     The claims of John Doe are typical, if not identical, to those of absent class members.

          19.     Class counsel consists of highly-regarded law firms and attorneys with extensive

   experience prosecuting class actions and §1983 claims. Class counsel and John Doe will fairly and

   adequately protect the interests of the absent class members.

                                     JURISDICTION AND VENUE

          20.     This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

   §§ 1331, 1343(3) and (4).

          21.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c). The wrongful

   acts alleged herein occurred in this District.

                                      FACTUAL BACKGROUND

     I.   The Jupiter Police Investigate Suspected Prostitution

          22.     In October 2018, the Jupiter Police began a prostitution investigation of massage

   parlors in Palm Beach County.


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           23.     The focus of that investigation was the Spa.

           24.     Through Internet research, Sharp became suspicious that the Spa was involved in

   prostitution.

           25.     Sharp visited an Internet forum called www.rubmaps.com, where individuals freely

   discuss their sexual experiences at illicit massage parlors.

           26.     According to Sharp, there were several posts about the Spa on www.rubmaps.com,

   leading him to believe that the Spa was involved in prostitution.

           27.     Sharp also claims to have surveilled the Spa for an extended period of time in

   November 2018, during which he claims to have only seen men enter the Spa, despite the fact that

   the Spa clearly advertises for female services.

           28.     Without probable cause and without a warrant, Sharp requested that an inspector from

   the Florida Department of Health perform a warrantless search of the Spa. That investigator, Karen

   Herzog, interviewed each of the employees present in the Spa, and took pictures of their

   identification and a fridge and a freezer. Herzog also completed a report indicating that the Spa was

   not used as a place of domicile.

           29.     After that, Sharp continued to surveil the outside of the Spa. Specifically, he would

   watch men enter the Spa and then, upon departure, the Jupiter Police would follow them until they

   purportedly committed a traffic violation, at which time they were pulled over and interviewed. A

   number of these men purportedly described receiving low-level sexual services—in particular,

   manual genital stimulation—in addition to massage, in exchange for money.

           30.     When shown photographs of the individuals previously identified as the Spa’s

   employees, a number of these men admitted that particular Spa employees had performed massage

   as well as sexual services on them and/or had accepted payment in exchange for the same.




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          31.     All of these men described receiving towels or napkins from Spa employees with

   which to clean up their seminal fluid after ejaculating.

          32.     Jupiter Police personnel rifled through the Spa’s trash multiple times and obtained

   samples from napkins which tested positive for seminal fluid.

          33.     Jupiter Police personnel obtained a “wage and hour” report from the State of Florida

   for the Spa’s managers, which showed those managers’ reports of their own income. Sharp would

   later describe this report as “evidence that the majority of the income generated by the [Spa] was a

   result of prostitution crimes . . . and [the managers] were deriving support from the money generated

   from the prostitution crimes being committed by and through the [Spa].”

          34.     Sharp also “determined that the Comcast cable bill and the Florida Power and Light

   bill for the [Spa] were being paid by this business,” which he claimed provided further evidence that

   the Spa’s president was “deriving support … through the crimes of prostitution she is engaging in

   and perpetuating [sic] through her employees.”

          35.     The Jupiter Police also identified and sought to search bank accounts and deposit

   boxes belonging to the Spa and its management.

          36.     In short, within weeks of commencing its investigation, the Jupiter Police and Sharp

   had obtained overwhelming evidence that certain masseuses were engaging in low-level prostitution

   at the Spa, and that the Spa’s managers were both participating in those sex acts and deriving support

   from others’ low-level prostitution, and therefore had no basis or need to video record Mr. Doe while

   he was undressed and receiving a massage in a private massage room.

   II.    The Jupiter Police Install Spy Cameras In The Massage Rooms At The Spa

          37.     On January 18, 2019, upon information and belief, the Jupiter Police caused a false

   “suspicious package” warning to be issued for the Spa. Having evacuated the Spa, the Jupiter Police




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   then entered and installed video monitoring equipment in rooms in which clients received massages,

   as well as the lobby, pursuant to a search warrant.

           38.    The Spa and its employees and managers were given no formal notice of the issuance

   of the warrant or the placement of video recording equipment on its premises.

           39.    The Jupiter Police were able to monitor and record the activity in the Spa’s massage

   rooms in real time, and did so for a period of approximately five days, starting on January 18, 2019.

   III.    Defendants Wrongfully Record Mr. Doe

           40.    On or around January 19, 2019. Mr. Doe entered the Spa and received a massage,

   while undressed, in a private massage room.

           41.    Mr. Doe had a reasonable expectation of privacy when he entered that private room,

   on private property, to receive treatment from a licensed healthcare practitioner—namely, a massage

   therapist.

           42.    From January 18, 2019 to January 22, 2019, John Does and Jane Does of the class

   also patronized the Spa and received lawful massages while undressed in private massage rooms.

           43.    Each of the John and Jane Does of the class had a reasonable expectation of privacy.

           44.    On information and belief, the Jupiter Police recorded Mr. Doe, John Does, and Jane

   Does while undressed and receiving massages. Mr. Doe, John Does, and Jane Does did not engage in

   any sexual or illegal activity at any time while receiving their massages at the Spa.

           45.    Upon information and belief, the Jupiter Police shared these recordings with other

   individuals and organizations pursuing or acting in parallel with the Investigation, including officers

   employed by the Jupiter Police, Aronberg, and, on information and belief, the Martin County

   Sherriff and the Martin County DA, who were running a related investigation.




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   IV.      The Jupiter Police Charge Individuals With Misdemeanor Solicitation of Prostitution

            46.   On February 19, 2019, about a month after its illegal surveillance operation finished,

   law enforcement raided the Spa, executed several other search warrants, and arrested its two

   managers.

            47.   A few days later, the Jupiter Police Department filed misdemeanor charges against a

   number of alleged Spa customers, charging them with solicitation of prostitution.

            48.   Mr. Doe, John Does, and Jane Does have not been accused of or charged with any

   crime.

   V.       Public Access to View Surveillance Video

            49.   Pursuant to Florida’s Public Records Law, “all state, county, and municipal records

   are open for personal inspection and copying by any person.” Fla. Stat. § 119.01(1).

            50.   The State has received hundreds of requests for the surveillance videos taken by

   Defendants. While the media intervening in the underlying criminal actions have attested they are

   not seeking video of lawful activity, the class members are concerned that the videos of them will be

   released to the media or other members of the public pursuant to the hundreds of public record

   requests received by the State.

            51.   Defendants indiscriminately video recorded John Doe knowing that they were doing

   so unlawfully and knowing the high risk that the video could be publicized, including through

   Florida Public Record Laws.

            52.   Defendants knew that the risk of public access demands would be particularly acute

   in the present case, as certain of the defendants charged with misdemeanor solicitation of prostitution

   include high profile individuals.

            53.   Despite knowing this, Defendants made no effort to protect John Doe’s privacy

   rights, which they had already violated. On the contrary, they admitted that the surveillance footage


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   of innocent victims like Mr. Doe would be of little or no value to any party to the criminal

   proceedings. Nonetheless, Defendants agreed to release the surveillance footage without objection.

             54.   Then, after promising in open court that they would not release the surveillance

   absent a court order directing them to do so, Defendants filed a notice of intent to release the

   surveillance footage to the media. This lead to a hearing before Judge Hanser in State v. Zhang and

   State v. Wang, Case No. 50-2019-CF-001606 (Circuit Court for the 15th Judicial District in and for

   Palm Beach County, Florida), who ordered on April 17, 2019 that the surveillance footage could not

   be released absent a direct order from him permitting Defendants to do so.

             55.   Within 24 hours of that order, however, the surveillance footage, which was

   exclusively in the possession and control of Defendants, suddenly was being shopped to various

   news outlets. Upon information and belief, the individual(s) shopping the video surveillance are

   involved in law enforcement. The Defendants either have recklessly allowed one of their employees

   to steal and attempt to sell the video or, worse, are intentionally seeking to release the video to force

   a plea bargain from the defendants while trampling the privacy rights of the Does.

                                                 COUNT 1

                                      (Violation of 42 U.S.C. § 1983)

             56.   Plaintiff repeats and re-alleges the allegations set forth above as though fully set forth

   herein.

             57.   Mr. Doe and the class members had a reasonable expectation of privacy when they

   were at the Spa, including while in private rooms located on private property at the Spa.

             58.   The Defendants’ actions, including their monitoring and recording of Mr. Doe’s and

   the class members’ conduct while located in a private room located on private property, deprived

   Mr. Doe and the class members of their rights, privileges, and immunities secured and guaranteed by

   the United States Constitution.


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           59.     Specifically, and among other things, Defendants’ actions:

                       a. violated Mr. Doe’s and the class members’ right to be free from unreasonable

                           search and seizure in violation of the Fourth Amendment to the United States

                           Constitution;

                       b. violated Mr. Doe’s and the class members’ Fourteenth Amendment Right to

                           procedural due process;

                       c. violated Mr. Doe’s and the class members’ constitutional right to privacy;

                           and

                       d. constituted a gross abuse of power that is shocking to the conscience.

           60.     In doing so, the Defendants acted willfully, maliciously, and in violation of law,

   established practices, and their duties.

           61.     As a result of Defendants’ actions, Mr. Doe and the class members suffered invasion

   of his privacy, embarrassment, loss of business opportunities, and substantial expenses—including

   legal fees and court costs—in vindicating their rights.

           62.     This Count is brought within the time permitted by law.

           63.     Mr. Doe has retained undersigned counsel to represent his and the class members in

   this action to vindicate their rights.

                                            PRAYER FOR RELIEF

           WHEREFORE, Mr. Doe requests the Court certify the proposed class and enter judgment:

           (a)     awarding money damages;

           (b)     awarding punitive and exemplary damages;

           (c)     awarding reasonable costs and expenses incurred in this action, including, to the

                   extent applicable, counsel fees;




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          (d)    enjoining the Defendants from publicizing or otherwise transmitting to any other

                 person or organization, and ordering them to permanently and completely destroy,

                 any and all video, audio, photographic, or other recordings, or any images or other

                 records derived from or based on recordings, made inside the Spa;

          (e)    ordering the Defendants to identify any person or organization to whom they

                 previously transmitted or granted access to, or who may have accessed, any and all

                 video, audio, photographic, or other recordings, or any images or other records

                 derived from or based on recordings, made inside the Spa;

          (f)    requiring the Defendants to submit affidavits to the Court, within fourteen (14) days

                 of the entry of judgment, confirming and providing specific details of their

                 compliance with the Court’s order described above in (d), and providing the

                 information described above in (e); and

          (g)    granting such other relief as the Court deems just and proper.

   Dated: April 19, 2019                                 Respectfully submitted,

                                                         REED SMITH LLP

                                              By:         /s/ Edward Mullins
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                                                        -and-

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                                                        Attorneys for John Doe


                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 19, 2019 I electronically filed the foregoing document

   with the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

   counsel or parties of record.

                                                                  /s/ Edward M. Mullins
                                                                  Edward M. Mullins, Esq.




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